Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 1 of 15 PageID #: 3084




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA,            )
                                      )
         v.                           )    Criminal No. 23-00061-MN
                                      )
 ROBERT HUNTER BIDEN,                 )
                                      )
                Defendant.            )



                PRESS COALITION’S MOTION TO INTERVENE
              AND FOR IN-PERSON ACCESS TO JURY SELECTION




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Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 2 of 15 PageID #: 3085




                                                   TABLE OF CONTENTS
                                                                                                                                     Page

TABLE OF AUTHORITIES .......................................................................................................... ii

PRELIMINARY STATEMENT .....................................................................................................1

BACKGROUND .............................................................................................................................2

ARGUMENT ...................................................................................................................................3

I.        THE PRESS COALITION SHOULD BE PERMITTED TO INTERVENE ......................3

II.       THE COURT SHOULD PERMIT IN-PERSON ACCESS TO JURY
          SELECTION ........................................................................................................................4

III.      AT A MINIMUM, THE COURT SHOULD PERMIT POOL REPORTERS
          TO OBSERVE JURY SELECTION IN PERSON AND PROVIDE LIVE
          VIDEO OF THE PROCEEDINGS TO THE OVERFLOW ROOM ..................................9

REQUEST FOR EXPEDITED TREATMENT.............................................................................10

CERTIFICATION OF GOOD FAITH CONFERENCE...............................................................10

REQUEST FOR ORAL ARGUMENT .........................................................................................11

CONCLUSION ..............................................................................................................................11




                                                                     i
Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 3 of 15 PageID #: 3086




                                               TABLE OF AUTHORITIES
                                                                                                                              Page(s)
Cases
ABC, Inc. v. Stewart,
  360 F.3d 90 (2d Cir. 2004).....................................................................................................7, 8

Globe Newspaper Co. v. Superior Court,
   457 U.S. 596 (1982) ...............................................................................................................4, 5

Pansy v. Borough of Stroudsburg,
   23 F.3d 772 (3d Cir. 1994).....................................................................................................3, 4

Presley v. Georgia,
   558 U.S. 209 (2010) .........................................................................................................6, 8, 10

Press-Enterprise Co. v. Superior Court,
   464 U.S. 501 (1984) ...........................................................................................................1, 5, 6

Richmond Newspapers v. Virginia,
   448 U.S. 555 (1980) ...........................................................................................................4, 5, 9

State v. Brimmer,
    983 N.W.2d 247 (Iowa 2022) ..................................................................................................10

United States v. Alimehmeti,
   284 F. Supp. 3d 477 (S.D.N.Y. 2018)........................................................................................9

United States v. Allen,
   34 F.4th 789 (9th Cir. 2022) ................................................................................................7, 10

United States v. Antar,
   38 F.3d 1348 (3d Cir. 1994)...................................................................................................4, 7

United States v. Criden,
   648 F.2d 814 (3d Cir. 1981).......................................................................................................7

United States v. Ochoa-Vasquez,
   428 F.3d 1015 (11th Cir. 2005) .................................................................................................7

United States v. Schulte,
   436 F. Supp. 3d 698 (S.D.N.Y. 2020)........................................................................................9

United States v. Smith,
   123 F.3d 140 (3d Cir. 1997).......................................................................................................4

United States v. Wecht,
   484 F.3d 194 (3d Cir. 2007).......................................................................................................4

                                                                    ii
Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 4 of 15 PageID #: 3087




United States v. Wecht,
   537 F.3d 222 (3d Cir. 2008)...................................................................................................4, 8




                                                                 iii
Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 5 of 15 PageID #: 3088




                                PRELIMINARY STATEMENT

       Starting next week, Defendant Robert Hunter Biden is scheduled to stand trial in this

Court on federal charges of making false statements and illegal possession of a firearm. To call

the trial high-profile would be an understatement: Defendant is the second son of the sitting

President of the United States; the case has already given rise to a dramatic, eleventh-hour

rejection of a proposed plea agreement1; and the Defendant argues that his prosecution is

unconstitutional under a recent Supreme Court ruling that his father, the President, denounced as

“contradict[ing] both common sense and the Constitution.”2 Such a closely watched criminal

proceeding requires maximum transparency to assure “the appearance of fairness so essential to

public confidence in the system.” Press-Enter. Co. v. Super. Ct., 464 U.S. 501, 508 (1984)

(“Press-Enterprise I”). As it currently stands, however, the press and public will be barred from

the courtroom during one of the key phases of trial: jury selection. Because that exclusion from

the courtroom would violate the public’s well-established right of access to judicial records and

proceedings, the Press Coalition3 respectfully moves to intervene in this action for the limited

purpose of challenging that restriction under the First Amendment. The Court should rescind its

directive and provide in-person access to jury selection on the same terms that the press and

public will have access to the other phases of this important trial.

   1
     See, e.g., Marshall Cohen et al., Hunter Biden hearing ends after judge is not ready to
accept revised plea deal, CNN (July 26, 2023), https://www.cnn.com/2023/07/26/politics/hunter-
biden-plea-hearing/index.html.
   2
     See, e.g., Glenn Thrush & Michael S. Schmidt, Hunter Biden’s Lawyers Cite Landmark
Gun Ruling in Bid to Stave Off Charges, THE NEW YORK TIMES (May 31, 2023),
https://www.nytimes.com/2023/05/31/us/politics/hunter-biden-bruen-justice-department.html.
   3
     The coalition includes American Broadcasting Companies, Inc. d/b/a ABC News, the
Associated Press, Cable News Network, Inc., CBS Broadcasting Inc. o/b/o CBS News, Dow
Jones & Company, Inc., publisher of The Wall Street Journal, Gannett Co., Inc., the ultimate
parent company of The News Journal and DelawareOnline.com, National Public Radio, Inc.,
NBCUniversal Media, LLC d/b/a NBCUniversal News Group, The New York Times Company,
POLITICO LLC, and WP Company LLC d/b/a The Washington Post.
Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 6 of 15 PageID #: 3089




                                        BACKGROUND

       Hunter Biden was originally charged in June 2023 with “two misdemeanor tax offenses”

and one felony count of “possession of a firearm by a person who is an unlawful user of or

addicted to a controlled substance.” See Apr. 12, 2024 Mem. Op. at 1 (D.I. 97). That same day,

the government also notified the Court that Defendant “had agreed to plead guilty to both

misdemeanor tax offenses and also agreed to enter a pretrial diversion program as to the felony

firearm charge.” Id. A hearing on that proposed plea agreement was set for July 2023. Id.

       At that hearing, “the Court pressed the parties on their respective understandings as to the

government’s promises in exchange for Defendant’s guilty plea on the tax charges,” and the

Court observed that “the parties had different views as to the scope of the immunity provision in

the Diversity Agreement.” Id. at 5. The Court ultimately concluded that “it could not accept or

reject the Plea Agreement as offered” and “Defendant then entered a plea of not guilty.” Id. at 7.

       The following month, “United States Attorney David Weiss was appointed as special

counsel to conduct the ongoing investigations relating to these two criminal matters, as well as to

conduct investigations into matters arising from the ongoing ones.” Id. One month after that, in

September 2023, “a federal grand jury returned an indictment against Defendant charging him

with three firearm offenses,” consisting of “the same unlawful possession charge that was

present in the original Information along with two additional charges for making a false

statement in connection with acquiring a firearm.” Id. at 8 (citation omitted).

       Defendant subsequently moved to dismiss the charges against him on multiple grounds,

including selective prosecution, unconstitutional appointment of the Special Counsel, immunity

arising from the unaccepted plea agreement, and violation of the Second Amendment. See D.I.

60-63. The Court denied each of those motions. See D.I. 97-101, 114. Defendant noticed an



                                                 2
Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 7 of 15 PageID #: 3090




appeal as to his Second Amendment motion, and the Third Circuit dismissed that appeal for lack

of jurisdiction. See D.I. 183. Defendant is therefore set to stand trial starting next week.

       On May 24, 2024, the Court issued a Public Notice stating that jury selection is scheduled

to begin “at 9:00 a.m. on Monday, June 3, 2024, in Courtroom 4A,” and that “[m]embers of the

public and media may not be present in the courtroom for jury selection but may listen to those

proceedings from the overflow room.” See Public Notice: Courthouse Logistics for Media and

Members of the Public Attending the Pretrial Conference (May 24, 2024) and the Jury Trial

(beginning June 3, 2024) in the matter of The United States of America v. Robert Hunter Biden

at 1 (May 4, 2024), available at

https://www.ded.uscourts.gov/sites/ded/files/news/PUBLIC%20NOTICE.pdf (“Public Notice”)

(emphasis added). Yet the Public Notice reflects that the overflow room is fully capable of

providing both audio and video access to court proceedings; indeed, if the courtroom fills to

capacity, members of the press or the public may view “portions of the trial other than jury

selection” on a “video stream in the overflow room.” Id.

       The Court issued its directive excluding the press and public from the courtroom for jury

selection without prior notice or an opportunity to be heard, and without any accompanying

findings to justify its course of action. The Press Coalition therefore moves to intervene in this

case to challenge this unconstitutional denial of access.

                                          ARGUMENT

I.     THE PRESS COALITION SHOULD BE PERMITTED TO INTERVENE.

       It is well settled that intervention is the appropriate procedural vehicle for journalists and

news organizations to vindicate the right of the public and press to access judicial proceedings.

See Pansy v. Borough of Stroudsburg, 23 F.3d 772, 777 (3d Cir. 1994). The Third Circuit has



                                                 3
Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 8 of 15 PageID #: 3091




“routinely found, as have other courts, that third parties have standing to challenge protective

orders and confidentiality orders in an effort to obtain access to information or judicial

proceedings,” and that press organizations “may have standing notwithstanding the fact that

‘they assert rights that may belong to a broad portion of the public at large.’” Id. (citations

omitted). Moreover, to facilitate the ability of third parties to intervene to vindicate the public’s

right of access, the First Amendment and common law require that the public and press be given

notice and an opportunity to be heard “at a meaningful time, and in a meaningful manner” before

any records or proceedings are sealed. United States v. Antar, 38 F.3d 1348, 1361 n.18 (3d Cir.

1994); see also, e.g., Globe Newspaper Co. v. Super. Ct., 457 U.S. 596, 609 n.25 (1982) (stating

that “representatives of the press and general public must be given an opportunity to be heard on

the question of their exclusion”) (internal marks omitted); United States v. Wecht, 537 F.3d 222,

232 (3d Cir. 2008) (media intervenors had standing to challenge restrictions on access to names

of jurors); United States v. Wecht, 484 F.3d 194, 202-03 (3d Cir. 2007) (media outlets had third

party standing to challenge the constitutionality of gag order on public’s behalf); United States v.

Smith, 123 F.3d 140, 145 (3d Cir. 1997) (adjudicating merits of newspapers’ right of access

claim to briefs and hearings in criminal proceeding).

       The Press Coalition therefore seeks permission to intervene in this case for the limited

purpose of challenging the Court’s denial of in-person access to jury selection.

II.    THE COURT SHOULD PERMIT IN-PERSON ACCESS TO JURY SELECTION.

       In Richmond Newspapers v. Virginia, the Supreme Court recognized that “the right to

attend criminal trials is implicit in the guarantees of the First Amendment.” 448 U.S. 555, 580

(1980). As the Chief Justice emphasized, this constitutional right fosters faith in government,




                                                  4
Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 9 of 15 PageID #: 3092




because “[p]eople in an open society do not demand infallibility from their institutions, but it is

difficult for them to accept what they are prohibited from observing,” id. at 572:

           The crucial prophylactic aspects of the administration of justice cannot
           function in the dark; no community catharsis can occur if justice is done in
           a corner or in any covert manner. It is not enough to say that results alone
           will satiate the natural community desire for satisfaction. A result
           considered untoward may undermine public confidence, and where the
           trial has been concealed from public view an unexpected outcome can
           cause a reaction that the system at best has failed and at worst has been
           corrupted.

Id. at 571 (cleaned up). The Supreme Court reiterated that interest in Globe Newspaper, where it

overturned an order closing a trial involving a sexual offense alleged to have been committed

against a minor victim:

           [T]he right of access to criminal trials plays a particularly significant role
           in the functioning of the judicial process and the government as a whole.
           Public scrutiny of a criminal trial enhances the quality and safeguards the
           integrity of the factfinding process, with benefits to both the defendant and
           to society as a whole. . . . And in the broadest terms, public access to
           criminal trials permits the public to participate in and serve as a check
           upon the judicial process — an essential component in our structure of
           self-government.

457 U.S. at 606 (footnote omitted). Thus, because “the press and general public have a

constitutional right of access to criminal trials,” any “circumstances under which the press and

public can be barred from a criminal trial are limited; the State’s justification in denying access

must be a weighty one.” Id. at 603, 606.

       The Supreme Court has squarely held that this First Amendment right of access applies to

the jury selection process. See Press-Enterprise I, 464 U.S. at 508-09 (stating that, in terms of

history, “[p]ublic jury selection . . . was the common practice in America when the Constitution

was adopted” and that, in terms of logic, “public proceedings vindicate the concerns of the

victims and the community in knowing that offenders are being brought to account for their



                                                  5
Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 10 of 15 PageID #: 3093




 criminal conduct by jurors fairly and openly selected”). Any party seeking to exclude the press

 and public from jury selection must therefore identify “an overriding interest” advanced by the

 denial of access and must demonstrate that “closure is essential to preserve higher values and is

 narrowly tailored to serve that interest.” Id. at 510. Moreover, in approving such a courtroom

 closure, the Court must articulate findings of fact that are “specific enough that a reviewing court

 can determine whether the closure order was properly entered.” Id.

        The Public Notice fails all of these requirements. It does not identify any “overriding”

 interest supposedly advanced by excluding the press and public from the courtroom during jury

 selection. It does not demonstrate that excluding the press and public is “essential” to that

 interest or that no less restrictive alternative could achieve the same goals. And it does not

 articulate any “findings” – let alone specific findings – to allow for appellate review. The

 proposed exclusion of the press and public from the trial courtroom during jury selection thus

 violates the First Amendment and must be rescinded immediately.

        The controlling authority could hardly be clearer. Relying in part on Press-Enterprise I,

 the U.S. Supreme Court concluded in Presley v. Georgia that a state trial court had violated the

 Constitution when it “excluded the public from the voir dire of prospective jurors.” 558 U.S.

 209, 209 (2010) (per curiam). The Court stated that “[n]othing in the record shows that the trial

 court could not have accommodated the public,” and that the trial court could have considered

 alternatives to closure such as “reserving one or more rows for the public; dividing the jury

 venire panel to reduce courtroom congestion; or instructing prospective jurors not to engage or

 interact with audience members.” Id. at 215.

        This Court’s plan to exclude the press and public from the trial courtroom and permit

 them only to “listen to those proceedings from the overflow room,” see Public Notice at 1, is



                                                  6
Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 11 of 15 PageID #: 3094




 likewise unconstitutional. As the Third Circuit has explained, visual access is necessary to “fully

 implement the right of access because some information, concerning demeanor, non-verbal

 responses, and the like is necessarily lost” without it. See Antar, 38 F.3d at 1360 n.13. Indeed,

 “[t]here can be no question that actual observation . . . contributes a dimension which cannot be

 fully provided by second-hand reports,” including “appearance, demeanor, expression, [and]

 gestures,” such that “[i]n the absence of public attendance a substantial part of the real record of

 the proceeding will have been permanently lost to public scrutiny.” United States v. Criden, 648

 F.2d 814, 824 (3d Cir. 1981); see also United States v. Allen, 34 F.4th 789, 796 (9th Cir. 2022)

 (“For purposes of the public trial right, an audio stream is not substantially different than a public

 transcript. Although a listener may be able to detect vocal inflections or emphases that could not

 be discerned from a cold transcript, an audio stream deprives the listener of information

 regarding the trial participant’s demeanor and body language.”). Audio-only access also

 prevents the press and public from observing non-verbal responses to the Court’s questioning

 (such as raised hands) and from monitoring whether potential jurors are being struck based in

 part on physical characteristics, which may itself be a matter of constitutional significance. Cf.

 United States v. Ochoa-Vasquez, 428 F.3d 1015, 1043 (11th Cir. 2005) (noting, in assessing

 defendant’s Batson challenge, that by being physically present in the courtroom the trial judge

 can “observe first-hand whether visible judgments could be made about each juror’s ethnicity in

 the venire”).

        The Second Circuit’s decision in ABC, Inc. v. Stewart rejecting a closed jury selection

 process in another “high-profile criminal prosecution” speaks directly to the issues here. 360

 F.3d 90, 93 (2d Cir. 2004). There, the trial court issued an order directing that voir dire be held

 in the court’s robing room, from which members of the press and public were excluded, and



                                                   7
Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 12 of 15 PageID #: 3095




 providing that a redacted transcript of the voir dire proceedings would be released the following

 day. Id. at 95. “[A] coalition of news organizations and publications,” including several of the

 same intervenors now seeking access here, promptly challenged that order and then appealed the

 trial court’s denial of that access motion. Id. at 95-97. The Second Circuit reversed, explaining

 that “[t]he ability to see and to hear a proceeding as it unfolds is a vital component of the First

 Amendment right of access—not . . . an incremental benefit” and that “one cannot transcribe an

 anguished look or a nervous tic.” Id. at 99. The court further noted that “[t]he mere fact that the

 suit has been the subject of intense media coverage is not . . . sufficient to justify closure,”

 because “[t]o hold otherwise would render the First Amendment right of access meaningless; the

 very demand for openness would paradoxically defeat its availability.” Id. at 102.

        The Court’s current directive allows members of the press and public to observe all

 “portions of the trial other than jury selection” in person, permits “two members from each news

 outlet . . . to sit in the courtroom” at a minimum and, if possible, accommodates “additional

 members of news organizations . . . until the courtroom is full.” See Public Notice at 1. Because

 the Court has not identified any interest (let alone a compelling interest) in excluding the press

 and public from equivalent access to jury selection, has not demonstrated that exclusion is at all

 tailored (let alone narrowly tailored) to advancing that interest, and has not articulated a single

 finding (let alone specific findings) to justify this exclusion, the Court’s denial of in-person

 access to jury selection violates settled First Amendment precedent. In fact, this denial of access

 alone may amount to reversible error that is immediately appealable. See Presley, 558 U.S. at

 216; Wecht, 537 F.3d at 227 (“We have jurisdiction to review the Media-Intervenors’ motion

 under 28 U.S.C. § 1291 and the ‘collateral order’ doctrine.”). The Court should therefore

 reconsider this exclusion and provide the press and public in-person access to jury selection.



                                                    8
Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 13 of 15 PageID #: 3096




 III.   AT A MINIMUM, THE COURT SHOULD PERMIT POOL REPORTERS TO
        OBSERVE JURY SELECTION IN PERSON AND PROVIDE LIVE VIDEO OF
        THE PROCEEDINGS TO THE OVERFLOW ROOM.

        Even if the Court were to maintain, in spite of the controlling case law discussed above,

 that it must limit in-person access to jury selection proceedings in the trial courtroom, the Court

 should, at a minimum, permit a small group of “pool” reporters to observe jury selection in

 person. Pool reporters are routinely permitted to observe even the most sensitive portions of

 criminal trials, such as the testimony of undercover law enforcement officers in terror-related

 prosecutions. See, e.g., United States v. Alimehmeti, 284 F. Supp. 3d 477, 487-88 (S.D.N.Y.

 2018) (allowing “at least one representative from among the District’s press pool to be present

 for each UC’s testimony, so as to assure press exposure to visual observations (e.g., of trial

 participants’ reactions) that only a person physically present in court can make” and noting that

 such a “partial closure” is “narrowly tailored” in part because “the public will have access to,

 through the reporting of an SDNY press pool member, any visual observations of trial

 participants noted by the reporter”); see also, e.g., United States v. Schulte, 436 F. Supp. 3d 698,

 705 (S.D.N.Y. 2020) (permitting “two representatives from the District’s press pool to be

 present” for the testimony of CIA employees in Espionage Act case “to assure access to visual

 observations (e.g., of witness demeanor) that only a person in the courtroom can make”).

 Because the public interest in such visual observations is just as pressing here, the Court should,

 at a minimum, permit pool reporters to attend jury selection in person and make such visual

 observations as “surrogates for the public.” Richmond Newspapers, 448 U.S. at 573.

        The Court should also provide live video of jury selection, not just live audio, to the

 members of the press and public monitoring the proceedings in the overflow room. The

 Supreme Court has explained that the First Amendment provides a right of meaningful access,

 such that courts are “obligated to take every reasonable measure to accommodate public
                                                  9
Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 14 of 15 PageID #: 3097




 attendance at criminal trials.” Presley, 558 U.S. at 215. Providing live video of jury selection to

 the overflow room, which the Public Notice notes is capable of providing a video as well as

 audio stream, is without doubt a less restrictive alternative to prohibiting visual observation of

 jury selection altogether, and as such, is another way the Court can and should accommodate

 public attendance for this critical phase of this important trial. See, e.g.,

 Allen, 34 F.4th at 799-800 (trial court violated public trial right by providing only audio, not

 audiovisual, access to proceedings, where providing such audiovisual coverage was possible and

 the trial court “cannot show that allowing a limited number of members of the public to view the

 trial in the courtroom, or via a live-streamed video in a different room, would imperil” any

 compelling interest); State v. Brimmer, 983 N.W.2d 247, 270 (Iowa 2022) (reversing and

 remanding for new trial where court “closed [the courtroom] to all in-person spectators” because

 live video coverage represented “a reasonable alternative to cutting off all public view”).

                          REQUEST FOR EXPEDITED TREATMENT

         The Press Coalition respectfully requests that the Court address this motion on an

 expedited basis before June 3, 2024, when jury selection is set to begin. Absent expedited

 consideration, the press and public may be denied the First Amendment right to observe jury

 selection in person, which cannot be cured after the fact and may constitute reversible error.

                     CERTIFICATION OF GOOD-FAITH CONFERENCE

         Pursuant to Local Rule 7.1.1, undersigned counsel conferred with counsel for the

 government and Defendant on May 28 and 29, 2024. The government takes no position on this

 Motion, and at the time of filing, counsel for Defendant had not responded regarding

 Defendant’s position.




                                                   10
Case 1:23-cr-00061-MN Document 192-1 Filed 05/29/24 Page 15 of 15 PageID #: 3098




                             REQUEST FOR ORAL ARGUMENT

        Pursuant to Local Rule 7.1.4, the Press Coalition respectfully requests oral argument on

 this motion. Counsel for the Press Coalition will be in the courthouse on June 3, 2024 and

 prepared to address the issues discussed above and in the accompanying Memorandum of Law.

                                         CONCLUSION

        For the foregoing reasons, the Press Coalition respectfully requests that it be permitted to

 intervene in this proceeding, that the Court permit members of the press and public to attend and

 observe jury selection from inside the trial courtroom on the same terms as they will be permitted

 to attend the rest of the trial proceedings. Alternatively, and at a minimum, the Court should

 permit pool reporters to observe jury selection in person and provide live video coverage of jury

 selection proceedings to the other members of the press and public in the overflow room.



        Dated: May 29, 2024               Respectfully submitted,

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                                                 11
